        Case 3:21-cr-02214-GPC Document 85 Filed 10/13/21 PageID.197 Page 1 of 1

                                   UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                        Case No. 21-cr-02214-GPC

                                       Plaintiff,
                           vs.
                                                        JUDGMENT OF DISMISSAL
Mireya Luna-Ramirez (2),


                                      Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
☐
      granted the motion of the Government for dismissal of this case, without prejudice; or
☐     the Court has dismissed the case for unnecessary delay; or

☒     the Court has granted the motion of the Government for dismissal, without prejudice; or

☐     the Court has granted the motion of the defendant for a judgment of acquittal; or

☐     a jury has been waived, and the Court has found the defendant not guilty; or

☐     the jury has returned its verdict, finding the defendant not guilty;

☒     of the offense(s) as charged in the Indictment:
      8:1324(a)(1)(A)(ii)




Dated: 10/13/2021
                                                    Hon. Linda Lopez
                                                    United States Magistrate Judge
